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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES,



            v.                                     DECISION AND ORDER
                                                       11-CR–151

EFRAIN HIDALGO, ET AL.

                               Defendants.


      This case was referred to Magistrate Judge H. Kenneth Schroeder for

supervision of all pre-trial proceedings. The Superseding Indictment, filed on May

24, 2012, names 18 defendants and sets forth various racketeering and narcotics

conspiracies beginning in or before 2000 and continuing until in or about 2012.

      On September 10, 2012, the Government filed a motion requesting that the

Court order all defendants to provide buccal swabs to law enforcement for

analysis by the Erie County Central Police Services Forensic Laboratory. Four

defendants, including Efrain Hidalgo and Luis Medina, filed responses in

opposition to the Government’s request. On November 14, 2012, Magistrate

Judge Schroeder issued a Decision and Order finding sufficient probable cause

to require all defendants, including Hidalgo and Medina, to provide buccal swabs

as requested in the Government’s motion.

      Defendant Hidalgo and Defendant Medina each filed objections to

Magistrate Judge Schroeder’s Decision and Order. The Government filed
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responses and the final reply was filed on December 7, 2012. The Court heard

oral argument, with respect to both defendants, on January 10, 2013.

      Pursuant to 28 U.S.C. §636(b)(1)(A), the District Court “may reconsider any

pretrial matter under this subparagraph (A), where it has been shown that the

magistrate’s order is clearly erroneous or contrary to law.” Id. The Court has

carefully reviewed Magistrate Judge Schroeder’s Decision and Order and the

submissions of the parties. Upon such review and after hearing argument from

counsel for the Government as well as counsel for defendant Hidalgo and

counsel for defendant Medina, the Court finds that Magistrate Judge Schroeder’s

Decision and Order is neither clearly erroneous nor contrary to law.

      Accordingly, the Court affirms the Decision and Order in its entirety and the

case is referred to Magistrate Judge Schroeder for further proceedings.



      SO ORDERED.


                                      s/ Richard J. Arcara
                                      HONORABLE RICHARD J. ARCARA
                                      UNITED STATES DISTRICT JUDGE

DATED:January 25, 2013




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